                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT WINCHESTER

 UNITED STATES OF AMERICA                   )
                                            )       Case No. 4:15-cr-13
 v.                                         )
                                            )       Judge Travis R. McDonough
 JAMES HEDELSKY                             )
                                            )       Magistrate Judge Susan K. Lee
                                            )


                                         ORDER


       On March 10, 2016, Defendant filed a motion to suppress. (Doc. 48.) Magistrate Judge

Susan K. Lee held a hearing on the motion (Doc. 55) and filed a Report and Recommendation

recommending that the motion be denied (Doc. 56). Neither party filed an objection within

fourteen days.

       After reviewing the record, the Court agrees with the R&R. The Court hereby ACCEPTS

and ADOPTS the Magistrate Judge’s R&R (Doc. 56), pursuant to 28 U.S.C. § 636(b)(1), and

Defendant’s motion to suppress is hereby DENIED (Doc. 48).

       SO ORDERED

       ENTER

                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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